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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRIGNIA
                                     Norfolk Division

 UNITED STATES OF AMERICA


 v.                                                                  Criminal No.: 2:25cr10

 DOMINIC NATHANIEL TORRES,

                        Defendant.

                          MOTION TO WITHDRAW AS COUNSEL

        Brian M. Latuga, counsel for Dominic Nathaniel Torres (“Defendant”), pursuant to the

 Federal Rules of Criminal Procedure, the Local Rules of this Honorable Court, the Virginia Rules

 of Professional Conduct codified in the Rules of the Virginia Supreme Court and adopted by Local

 Rule 57.4(J), and the inherent and supervisory powers of this Honorable Court, respectfully moves

 this Honorable Court, pursuant to Local Rule 57.4(H), to enter an Order permitting this Counsel

 to withdraw as counsel of record for the reasons stated in the accompanying Brief in Support of

 Motion to Withdraw as Counsel.

        WHEREFORE, the undersigned attorney, requests this Court to enter an order 1) granting

 him leave to withdraw from representation of the Defendant, 2) extending any deadlines and

 hearings for the Defendant until new counsel may be appointed, and 3) ordering such other relief

 as the Court deems fair, just and appropriate.

        Respectfully submitted this 17th day of February 2025.




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 I ask for this:


 _____/s/_________________
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 Counsel for Defendant Dominic Torres




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                                 CERTIFICATE OF SERVICE

 I hereby certify on the 17th day of February 2025, I electronically filed the foregoing with the
 Clerk of Court using the CM/ECF system which will send a notification of such filing (NEF) to
 all counsel of record including the following:

 SAUSA Jeremy McKinnon
 Jeremy.McKinnon@usdoj.gov

 With courtesy copy mailed via regular mail to:
 Dominic Nathaniel Torres
 Western Tidewater Regional Jail
 2402 Godwin Blvd.
 Suffolk, Virginia 23434
 Legal Mail



                                              _____________/s/_____________
                                              Brian M. Latuga, Esquire
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